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                     8

                     9
                 10                               UNITED STATES DISTRICT COURT
                 11                          CENTRAL DISTRICT OF CALIFORNIA
                 12

                 13      RG ABRAMS INSURANCE, and                CASE NO.: 2:21-CV-194-FLA (MAAx)
                         ROBIN GOLTSMAN,
                 14
                                    Plaintiffs,
                 15                                                DECLARATION OF MICHAEL A.
                              vs.                                  SLATER IN SUPPOR OF
                 16                                                PLAINTIFFS’ / COUNTER-
                         THE LAW OFFICES OF C.R.                   DEFENDANTS’ JOINT MOTION TO
                 17      ABRAMS, et al.                            MODIFY SCHEDULING ORDER
                 18
                                    Defendants.
                 19

                 20
                         AND RELATED CROSS-
                 21      ACTIONS
                 22

                 23            I, Michael A. Slater, declare and state as follows:
                 24            1.    I am an attorney duly licensed to practice before this Court and the
                 25      courts of the State of California and am an associate attorney at the law firm of
                 26      Burke, Williams & Sorensen, LLP. I represent Plaintiffs / Counter-Defendants RG
                 27      Abrams Insurance and Robin Goltsman (collectively, “Plaintiffs”) in the above-
                 28      captioned matter. I have personal knowledge of the facts stated and documents
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                     1   identified within this declaration and, if so called, could and would testify
                     2   competently thereto.
                     3         2.     On September 4, 2020, on behalf of Plaintiff Goltsman, my office
                     4   served all Defendants a separate set of requests for production of documents
                     5   (“RFPs Set 1”)—totaling approximately 250 requests. In their original responses,
                     6   Defendants did not serve even a single document in response to Plaintiff
                     7   Goltsman’s RFPs Set 1, in violation of Rule 34(b). Instead, Defendants served
                     8   boilerplate objections. Defendants’ discovery conduct necessitated a protracted
                     9   meet and confer process that lasted several months which ultimately resulted in
                 10      court-convened discovery dispute resolution with Magistrate Judge Robert Illman.
                 11      Dkt. 55, 58, 59, 61, 66, 70. The parties’ discovery disputes regarding Defendants’
                 12      responses to RFPs Set 1 was resolved by Judge Illman on December 28, 2020. Dkt.
                 13      70. On January 20, 2021, Defendant Christopher Abrams served supplemental
                 14      responses to RFPs Set 1.
                 15            3.     On November 5, 2020, on behalf of Plaintiff Goltsman, my office
                 16      served Defendants each with a set of interrogatories, sets one (“ROGs Set 1”),
                 17      aimed primarily at discovering the identities and locations of the computers at issue
                 18      in Plaintiffs’ claims, as well discovering the identities of Defendants’ insurance
                 19      policies (which, to date, have not been disclosed). Nearly two months later, on
                 20      January 4, 2021, Defendants served tardy responses to ROGs Set 1. Defendants’
                 21      responses to ROGs Set 1 consisted primarily of boilerplate objections. To the extent
                 22      Defendants’ substantively response to ROGs Set 1, Defendants’ responses
                 23      consisted of “equivocation or obfuscation,” which Judge Robert Illman specifically
                 24      instructed Defendants not to do specifically in connection with the identities of the
                 25      computers at issue in this lawsuit. Dkt. 70, 16:8-15.
                 26            4.     In accordance with Rule 37(a)(1) and Central District of CA Local
                 27      Rule 37-1, on February 22, 2022, I sent defense counsel, Tim Donahue, a detailed
                 28      meet and confer letter to attempt to resolve the deficiencies in Defendants’
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                     1   responses to ROGs Set 1 without court-convened discovery dispute resolution.
                     2         5.     On February 27, 2021, I also sent Mr. Donahue a meet and confer
                     3   letter regarding Defendant Cynthia Wooten’s responses to RFP No. 17. On March
                     4   5, 2021, I telephonically met and conferred with Mr. Donahue regarding my
                     5   February 22 and February 27, 2021, letters. Mr. Donahue was unprepared to discuss
                     6   the substance of Mr. Slater’s letters; instead, agreeing to “look into” each and every
                     7   issue raised in Mr. Slater’s letters within one week.           Mr. Donahue’s lack of
                     8   readiness to productively participate in our telephonic meet and confer amounts to
                     9   yet another delay in Plaintiffs’ ability to obtain discovery.
                 10            6.     On March 2, 2021, on behalf of Plaintiff Goltsman, my office served
                 11      Defendants each with a set of requests for production of documents (“RFPs Set 2”).
                 12      My office prepared RFPs Set 2 using the United States District Court for the
                 13      Northern District of California’s December 28, 2020, Order (regarding the parties’
                 14      discovery disputes in connection with RFPs Set 1—Dkt. 70) as a guide. In
                 15      accordance with the Court’s December 28, 2020, Order, my office narrowed the
                 16      scope of numerous requests for production previously held to be overbroad and
                 17      outside the scope of permissible discovery.
                 18            7.     On February 11, 2021, I sent defense counsel, Mr. Donahue, a meet
                 19      and confer email articulating three bases for extending the litigation deadlines six
                 20      months.
                 21            8.     On February 12, 2021, I called Mr. Donahue at Mr. Donahue’s office.
                 22      During my call with Mr. Donahue on February 12, 2021, Mr. Donahue indicated he
                 23      was amenable in principle to a six-month extension of all litigation deadlines,
                 24      pending client approval. Mr. Donahue also recommended that the parties
                 25      substantiate the stipulation for a six-month extension with more specific details
                 26      regarding the status of Farmers’ insurance coverage investigation and
                 27      determination. Mr. Donahue indicated he would discuss with his clients the two
                 28      Northern District Court orders ordering payment of Plaintiffs’ attorneys fees in
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                     1   connection with Plaintiffs’ successful motion to amend the now-vacated mediation
                     2   deadlines ($1,400.00) (Dkt. 69) and Rule 4(d) motion for service costs ($7,645.10)
                     3   (Dkt. 71).
                     4          9.    Also on February 12, 2021, in accordance with this Court’s Notice To
                     5   Parties Of Court−Directed ADR Program (Dkt. 75), I sent Mr. Donahue a meet and
                     6   confer email identifying Plaintiffs’ ADR preferences—(1) settlement conference
                     7   with a Magistrate Judge, (2) the Court’s Mediation Panel, and (3) private
                     8   mediation—and requested that Defendants identify their ADR preferences so that
                     9   the parties’ ADR preferences could be included in the contemplated stipulation
                 10      extending litigation deadlines six months. In a written response, Mr. Donahue
                 11      indicated: “if Farmers makes their decision in 3 weeks; wouldn't it be better to base
                 12      our stipulation off of that?” (Mr. Donahue did not indicate Defendants’ ADR
                 13      preference.) In response, I indicated that it did not make sense to wait to stipulate
                 14      until after Farmers made their coverage decision because the timeline for Farmers’
                 15      coverage decision was unknown.
                 16             10.   On February 16, 2021, I sent Mr. Donahue a follow-up meet and
                 17      confer email regarding the parties’ contemplated stipulation extending litigation
                 18      deadlines six months, Defendants’ ADR preferences, and the unpaid attorneys’
                 19      fees. In response, Mr. Donahue indicated that Defendants “are not interested in any
                 20      further delays.” Also on February 16, 2021, attorneys Mr. Parker and Mr. Tate of
                 21      the Fisher Phillips law firm appeared as co-counsel for Plaintiffs (in defense of
                 22      Defendants’ counterclaims). In light of their appearances, on February 18, 2021, I
                 23      emailed Mr. Donahue to articulate additional bases for the parties’ contemplated
                 24      stipulation: including that Mr. Parker and Mr. Tate will need time to conduct their
                 25      own discovery; that the “Cyber Form” portion of Plaintiff Goltsman’s Farmers
                 26      insurance policy was still being evaluated for coverage; and that resolution of
                 27      insurance coverage issues is a condition precedent to meaningfully engaging in
                 28      ADR.
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                     1         11.    On February 19, 2021, Mr. Donahue identified twelve bases (not
                     2   previously identified) for why Defendants would not agree to stipulate to extend
                     3   litigation deadlines. Many of these bases were frivolous and either inaccurate,
                     4   irrelevant and/or not tethered to procedural posture of the case, including: that the
                     5   parties have “already had a lot of discovery”; that the parties “still have a lot more
                     6   time”; that Plaintiffs had not “provided any names- to act as mediator”; and that the
                     7   Court already rejected the parties’ previous stipulation.
                     8         12.    On February 22, 2021, I responded to each of Mr. Donahue’s twelve
                     9   reasons for Defendants’ refusal to stipulate to extend litigation deadlines, including:
                 10      that Plaintiffs have been unable to obtain meaningful discovery due to Defendants’
                 11      obstreperous discovery conduct; that Plaintiffs need not select a private mediator at
                 12      this stage, because (as explained my February 12, 2021 email) private mediation is
                 13      not Plaintiffs’ ADR preference; and that, while the Court previously rejected the
                 14      parties stipulation to vacate litigation deadlines, the Court’s rejection was due, at
                 15      least in part, to insufficient reasoning. On February 23, 2021, Mr. Donahue
                 16      responded to my February 22, 2021, email with reasoning that was, like his
                 17      February 19, 2021, email, frivolous, inaccurate, irrelevant and/or not tethered to
                 18      procedural posture of this case.
                 19            13.    A true and correct copy of my February 11, 2021, through February
                 20      23, 2021, email meet and confer correspondence with Mr. Donahue is attached
                 21      hereto as Exhibit A.
                 22            14.     In order to prepare Plaintiffs’ Motion, I performed 9.70 hours of legal
                 23      work broken down by the following tasks:
                 24                   A.     Review and analyze Rule 16’s “good cause” standard for
                 25      modifying scheduling orders and associated decisional law (.60);
                 26                   B.     Review and analyze discovery propounded and discovery meet
                 27      and confer efforts (.50);
                 28                   C.     Review and analyze procedural posture and procedural history
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                     1   (.40);
                     2                  D.    Prepare Memorandum of Points and Authorities in support of
                     3   Motion to Amend Scheduling Order (4.50);
                     4                  E.    Prepare Declaration of Michael A. Slater in support of Motion to
                     5   Amend Scheduling Order (2.10);
                     6                  F.    Prepare Declaration of Robin Goltsman in support of Motion to
                     7   Amend Scheduling Order (.60);
                     8                  G.    Prepare    [Proposed]   Order     granting   Motion     to   Amend
                     9   Scheduling Order (.50);
                 10                     H.    Update memorandum and Declaration of Michael A. Slater to
                 11      incorporate information regarding March 5, 2021, telephonic meet and confer
                 12      between Mr. Slater and Mr. Donahue (.50).
                 13               15.   Accordingly, the attorneys’ fees for preparing this Motion thus far total
                 14      $3,395.00, calculated by multiplying my hourly rate ($350.00) by the 9.20 hours I
                 15      spent preparing this motion thus far. The $3,395.00 in attorneys’ fees incurred by
                 16      Plaintiffs thus far does not include the attorneys’ fees which will be required to
                 17      prepare a Reply to Defendants’ anticipated Opposition, or the attorneys’ fees for
                 18      attending a hearing on this Motion.
                 19               I declare under penalty of perjury under the laws of the State of California
                 20      that the foregoing is true and correct.
                 21               Executed at Los Angeles, California on March 5, 2021.
                 22

                 23                                                       By:   /s/ Michael A. Slater
                                                                                    Michael A. Slater, Esq.
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